  Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 1 of 12 PageID# 1
EBZETTI
     FEB I 7 2022
                              the united states district court
                            EASTERN DISTRICT OF VTRGDNIA
AtEXANDRIA                  T

                    COMPLAINT UNDER CIVIL RIGHTS ACT 42 U.S.C.§ 1983
                                                      -   Action Number
                                                                  (To be supplied by die Cleric, U.S. District Court)


  Please fill out this complaint form completely. The Court needs the information requested m
  order to assure that your complaint is processed as quickly as possible and that all your claims
  are addressed. Please print/wnte legibly or type.

  I.         PARTIES



 1                                                        (b)
                   (Name)                                       (Inmate number)
                       All^.g'tYXA:.r\4> bo.
                    (Address)

                                          02\:i2

  Plaintiff MUST keep the Clerk of Court notified of any change of address due to transfer
     or   release. If plaintiff fails to keep the Clerk informed of such changes,this action may be
     dismissed.


     Plaintiff is advised that only persons acting under the color of state law are proper
     defendants under Section 1983. The Commonwealth of Virginia is immune under the
     Eleventh Amendment. Private parties such as attorneys and other inmates may not be ^
     sued under Section 1983. In addition,liabOity under Section 1983 requires personal action
     by the defendant that caused you harm. Normally,the Director ofthe Department of ^
     Corrections, wardens, and sheriffs are not liable under Section 1983 when a claim agamst
     them rests solely on the fact that they supervise persons who may have violated your rights.
     In addition, prisons,jails, and departments within an institution are not persons under
     Section 1983.

     B.         :fendant(s);
              Defendant(s):                                           Y

  1.         (a)
                (yphti-P'flE'rpcur
                                                                (Title/Job Description)
             (.-)MOC Al W\AV-le. iAr.
                    (Address)
Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 2 of 12 PageID# 2


2 (a)            /Najne) '
                               T^ylcr /M-D:— PkyStctan—
                                              (Title/Job Description)
      (0) ^00 AlLejY\Ari-e fV•
                (Address)

        C\-\(SR^e&k^,\4t. IViOSX.
                  (j<[ame)                                       (Title/Job Description)
       (■3 kOO Alhe/narl^ Dr.
                , (Address)
              CUes^^p^ir-,' l/a '22Z2.^
 If there are additional defendants, please list them on a separate sheet of paper. Provide all
 identiiying information for each defendant named.         ^
 Plaintiff MUST provide a physical address for defendant(s) in order for the Court to serve
 the complaint If plaintiff does not provide a physical address for a defendant, that person
 mny be dismissed as sl party to this action.

 n.     PREVIOUS LAWSUITS

 A.     Have you ever begun other lawsuite^H^y state or federal court relating
        to your imprisonment?         Yes [i/j    No [ ]

 B.     If your answer to "A" is Yes: You must describe any lawsuit, whether currently
        pending or closed, in the space below. If there is more than one lawsuit, you
         must describe each lawsuit on another sheet of paper, using the same outline,
         and attach hereto.

         1.       Parties to previous lawsuit:

        Plamtiffrs)~\^0/V\ C.S C i eA i                  (CX.—
         TiftfftnHflTitf's'i                            0r


                  \\r.rAl U. dgj^lv-e.
         2.       Court (if federal court, name the district; if state court, name the county):

              (hlYL-btk- (LrcirtV lV^                             giP CU
               Date lawsuit filed;_

               Docket number:_
Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 3 of 12 PageID# 3




 C               Vs                  ^
     JJe-l l Pk:■^k^Aeol^K Cxr^* So^<ry/sors a-a.ik                           uri€X
     Moo^ A1.
     -OLldSAp^l<:<:uy^<--—


           ^oclc lOee^L^.                              X^AAiUiciuoU
     Jf\<:^/'^<tL:s OA J.__j2r^j^A2A.Wai_ Vk.<^        itf^A
     x_                   li.k C      gA^My <r<;cic.Vji
     ^iiarAcA C^c                        af\ (A                 fOac-k
     _l5_song-tjlAc j~              Cxr)\ ^ V\(Xv>~e. V)e^\ Uaa
     _by_ _Bo4:k_ Dg-pcrKV-^          ^)o^■Sio^ v5\4-<'ftP /jb 1-g-
     Ai~lT€Mp4-('Ag, "l-O ^?l3Vo.t'A AfCe^^a-Py CfxAfN^gVtOA-
Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 4 of 12 PageID# 4


       5. NameofJudge to whom case was assigned

              CUrU                                                                          —-
       6. Disposition(Was case dismissed? Appealed? Is it still pending? What relief was
            granted, if any?):

                                                                                                ^




 TTT   GBIEVANCE PROCEDTJSE

 A.    At what institution did the events concerning your current complaint take place:
                                    C_>Jy              1
 B.    Does the institution listed in "A"have a grievance procedure? Yes                    ]

 C.    If your answer to "B"is Yes:

       1.      Did you file a grievance based on this complaint? Yes[ ] No

       2.      If so, where and when:


       3. What was the result?_ K)i&4- a.<3rici/<al3

       4.      Did you appeal? Yes[^ ] No[ ]

       5.      Result of appeal:

       (^£AtdI.
D.     If there was no prison grievance procedure in tjatC institution, did you
       complain to the prison authorities? Yes [\j/] No[ ]

       If your answer is Yes, what steps did you take?                                              A

                 QrP                              Ac:^ CXXJAi( ^                  ^
E.     If your answer is No,explain why you did not submit your complaint to the
       prison authorities:                                                              .
       vViA i\A.j/-Airgci'                                 \st~                       o"tTu>Uc)
                                             lAg.            V>Y
Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 5 of 12 PageID# 5




 IV.     STATEMENT OF THE CLAIM

 State here the facts of your case. Describe how each defendant is involved and how you were harmed
 by their action. Also include the dates, places of events, and constitutionaJ amendments you allege
  were violated.

 If you intend to allege several related claims, number aad set forth each claim in a separate
  paragraph. Attach additional sheets if necessary.
                                                                        .S'erKXisiY

 Ue.Ce              a            'ZC/'Jt 'if\aii/Vve                                   hw -i-tig.
 i^FA-W.1 AaJ                           He p.=^/we/\Vs'S'-f
 CU                             ^ i 1-^                n<3-c)S(n^
                        bioltVy \\ACi^ /IS U)<; l\                                 negp—
          VU .2 t-lro^-Uv^A -k cicc.ur.
           &€jgLjK^
           Se.-1-yp <L                                / fl'ioh iv c\i'sf>ej)s<.
 dreS>Cr,'p-kr>r\/^eJiC£4iAf\ i\ A bJiLerai-c.. tnJt^Ter&nCe.
  io A(/.cer/od .s /W/'rz. I ridnl^^Tion. Thpre /c nP
   r^acurJ a<                   as a 7^A7eA A/i-J-ri hpiibPi a'P'
  oce-scr/ l>eJ /yieJf Ci^cie-s,
            \e<siSf Ceg AU-a-ck<i
Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 6 of 12 PageID# 6




IE
^3 (s-i"           Biltp-ht"u)As c<pn'Vp-c-.'V«'4           Depol'
     Ols^                  -KVxe^ m rg^ar«j[sloxke, Se_t/grg-
     pa.<V\     UaJi Jsu-P-Pgr/Ao,ITf^^sorvc^VVy :'q|)0^g-
   t/0('4-U VmM AAcl Ke, sIclEJI "VUaV Vyg- Coo14 ggf
               r)e/\    cilQ-(V-uj/'-K a phone Ca11 \
   ona "Uv^l- Kei l^aA Aor\^^\~ fgc^Tly        So!f\c.oD-t
                                     rJi^S^re^arrleJ. fv^y f\e,eA<i
     CansH-kj'fe'; UanTTir^ oaJ^ ^n3<i'{           l:g^yie.^ on Ij/'j
                         QxcinsjUC.
                       C9Wj<-            jSrfU
Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 7 of 12 PageID# 7
                                                                                              erf^


*^i R«a-rly Mgt-U                            lo.S-1- g '^tUlA<^ 00^ <q>-P (X
          \   _ T-       1         «J_L           »\         ill         C - ■•
                             tYViTrff^A /V Hfta-VrVx ■Nert/iCLgS

   ^eoi^es'l' nr\ .5"/|F/^I                                 An lae <rg.gA
    Den't'z^i. X                   ^i't/ef\ /I ~1                    pf^c,rip'\-fon
          "r:< leyir)! (y/\<\ "^lA                     IJO-S c>i\ \-\kc. Ue^,^Vt^■^
    l r!>4~.As My ^gSCrlprVi^t^^ g,nc^eA ^aA tKy
   p^^ry. vndrg'o                    V dooVi-nn-ei An peyUr-\-if\<-
    lTea(44\ (Ure. S-lra.^y PoATlWpu'i'ies as pdj as
    Deputy Q\5-ef>;^ SolomyHj£^ V\eg.\'VV> S^U'iC<-
    K^^Ug^4-        (^/v^-yVxly. i iJtxs pVac-^A/!>'r\ a
    •fijli 4nV>p pr^Sr rip\i'rf\                                    lgAo\ \o loVxtclg
   O'f P^iVx tlorj-eAei.,"r^C^ Uyg-S^-hfJ) ^neU<aAc<i
   rvM)\'Vi:p'U                                 i/0<&-S                          'l-c:)
   3'^i/^/T0L:( At<P'-fWgir|'~ S<3-rQegjjy-l^ ilVio mTpr^veJ
   J>l&--,L'k-Ucks—<M^-O0-q i^i e t>'<^lole^-^£^ejx5LeJgLgZ
       f \JOo\X m^Llx-g (wy dcAdi^ll'o/) UoOoJl Vo
   -VUe D>€a-U.I C^e|>gl^-VrA-e,/<\''. VWg. pr>^ o-^
   AiMOS.'V tnV) ■5\^p'\-€Av.Wer VV>e- ^q^va
   be-0-<!yw.^/\^ oc\ ^^A-r^Jb V£^a-QA_J[lilG^_(1^5A\p\ai\i/^^
   :lV e.\Jer^ p>lA ea\[-Xua^ \ryfi'>r<v\eA (Pv^ Very
      %       w      ^       9 ^      V ^^                %-f—f •   •—       %            W


   Aer^e/iiAvA^VA)^.^ \ov f\or,^-e- C.o/v\^va
   N'V-!^ \fvy o. .)f\'T^Aj-l-V -Vnr- hg^A^ \ A<2.<xrce-rccT<.Jl
      Avs. LJG s,
   i^i^i                -\\\^y <^A-e^ fOaAro 5^ (lA
   ^yv■y Ty |€Aoi^<gsc-Wp4ioA Ia an ocH'^Aap'r'\t>
      X\-&-V/-ilair-€> •V1a<- pAc'A.^XlvJguS:-^n V^-Q k:
             p<"^o^rQ/>T. "rbrao^k, -|-4\.V^       orA^^i[,
   Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 8 of 12 PageID# 8




__j2:
         C^n         ^1 9vOQ. /I-~                 ly \'S^ P/A
        ijUil-e, g>r-fr<'ry^ i^a •fk^ pa.sseA^-er sea\- g>P 4-K
        Vdkn ^ b<='0ftA4p ^eA 'i\aos\GOs. OA A S'Wr-l'^cS
        Sujea,-Ui/\g pre>A)'s\eyy X .s-WVefO r^epo^'
        OU^A -H\cl- T!!              '(^•eliV^ uct\
        AeA^-lj|>0/:^AlcL^g-\y ](55jb_(l<:>Q5ilJiaiJL^Q^^ ju.
              g.-W-^ lycV^^ Qn'Vli\-g-'b\o.ci/c'\ba tjl4-V>a
                               oolc-g-A
        UO-S VaWr-4oU ArVvgy Og/ML                            ZaA {\-€^
        Cai)S^e. 4~ir\<-u                    -(tnA, g. fioU'ig-.lr
      V\a<^ k\oo/A. al\ A (0(jAArV-g--Pay\Ag>i^ fvvy Sk\r-h
        4K^k 1: V\^i rf(^or<^\ WVeJi.iJkeA-Vk
        o^roly-eA Lies UolA^!> >a af\ arvV)u\oJ\g-^
        •\-o be."ynxA-s p opWJj"MfNgy ^/AfAeAliAl/^y 3-kgrU-/-|
        or\ XV <wy V\\ooA ^r^ssuife            -€-)cVf,gAve-\^
        \o<-J.           Vfw>.sfiookei -W) OW-saP^i^Wg-
        ^g^l^OAal (^eACCft\ CeA.'WA R^Xg-f^-gAey                  .<50(n.

                 SPv/e.f^( kdOs^s o-^ Scar\^                         i4-
                                                  <3J\ upo^
           U)a^ sc\\gAl(A&Jl fi>p Ar> \fAMgr\i<\Tip pr&cg/-i/-^r<'
        aa<A a^/n<44TeJl ^A-WKospt4tL\» Vk-g-
        houn        k^r)\7. 5^ CI<^0.1 (X rky.s.reUA         c^nA
      "VolA (vve_ cafcxotj'V"X\\p f^nsTg^ofg, <3>n<k sWW<jl
                 g.fi-'Wr' Cg.r           trA-xy rv\P(\tf c^V Cec (oTct*;

        f^r^lor^-gJ ^n^-ejsAt^oA Qp V^Qp^ox^^ VvirX e<aA'eA
        <x VoW Ca                 UOoAeAim rt^VyA-/<^f\ g
Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 9 of 12 PageID# 9




u
    tMooA            se\. V\g_cAso g-WWj Vl\aA~A4^€^.
    OA\y "Ha'V^ A-V^gV ^re.t/-6A-Vi twg- -Cra/w JoW'eJL-
    Vaq A>uf ro/wpWATP,\y vJaj- VWg            VW.V-
              _(9i^fA (d-CXi-AvAf? -e>0^     4dx-g- ^€4^ ASXA
            <ng-€)r\ ^-W                  ,tAi eUv/tx/U-ri
            VV\0^ C.(u:>^\W> tW V>Vqo/^ \V fww
    ''\p v\o^> ^TP vu
                    r\^<_ uv;>v-e-ej■    ■ ^ylocJ
                                              ' L<l- '■ ^:>
                                                         '
    OAoV.^\jeA.V-VV^fPO-^U A iprz:>cgAtjr.f
          c>J-^.aV
    •We-u cJ-fA-V       ^           ifwy
                                    tf\A-v/   T'Ur<':>gt\~ aaA aaoA-pai
    VW ^                                ^
    ^Vd-e/y;Vi)aa.^. , .v.                       :AacL-\/£sJ-isJL^^.
    ^_^l__VJ[    o^<k
                 ^    sVoA^-^i
                      ^        VW\rW
                               ^_v=l_> ^l_v-v» VaX foKre\y
                                                   x_wa_^ v=^__
    ^-ee/N ^Uc.i\ Xaiv\Cej-/'_ (3^'\A VWa,-\- %)D~j^ri')^i\/\
         Opyly ^U|^po^-<vl                          qAaAIA t            J
    { r\ Qv_W«i'C cloS'C.^ Or\ a.
    ^ia.i('_'^                              ot\^y       Vr/il^-fA txyt'^K
    4t:>aA ,.                tA^,X~ L)go Id                     WW
    g tV\gArriA-^y^<'0"^^'y' •feA^-Ke rg$- l ~e<P /Wy
                                                     ^_>-cKaf^ <£^^bg.&k
    •W-VheajVij LJt4-U A A <x-P4-<rC<xr\;-
    sAeA-g.^ \f\ C)a\ A \g'U-ef^s: K)0 K'lAPi^OXrKJ nA


    r\P/ArcAi iMof W 4^ l^VvDc-)r3>y OA^
                j ftvy 'VrogaHv pulUi) gjOrly VK^ f\ew4''
    mg>nr\ W oaA            Tvw>y ap<?\v^ie^ w Vlp>g_AAA-y
Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 10 of 12 PageID# 10




uc
5^                                   CaO-^-gil. \ VvoA- Aay OaJI
     (Wr VW <\-^V -VvJo Oeg Vc^ VVn^y sk\l\
     Vry-eA        iM.g tOaP/b?c?r\,~t\\^ a-^^r-C-oje
     ■S o b ^ J,                          ses\iiV -e^_ OQ.^^4^>rA\
       tjX. 3 pgig..lc 'tq >/we- lf\ ^igA g^rAs
                                 vrv ^                      A-Wti
     (AciV-er        XT                           u)<gtk<'/\a.ir
     been ^rjorU-g-ngcker^ -fer                          /ir rk-e..
     jb?<QAg--Oj£-j:rkCs vQCiAgAi" lggi.vA^c>^Q£^^o-0-V)4^
     i-llab -Vbi\ Ia \\\f> -(^A-V c>P 4-U.X i'a'>'(-i4-o47)oa
     0Lr>4.         p/vyplny^^ by i'KTk-g,       aaA
     ^gj^Pgri'A^ •ybgt'blr pf\(\i)r'eA f^aA'rU.^ ( '^
     ■^X^jVrav^sjbY Ia Ak\LS^-Aay_aAil_o^e^
5l ^irer\                             r^/yv.p(gL^AW /rAAreS^eil
     \o bf^4-l\ 00<grkV^( aa^^3ac( ^-WifiP A\g>ib-erS
     fAeA>Vfl4-t\)r> \!n            lcV(\Ag Atsp^ASeJ. ^r\ <V)
     kocCi£c_ lA/'igy.                 CkJ^e- TtjL)<
     pg^ Ag-y gr)^                                     (V\o54~ Lx'Tk'
     (k S ^yg Vour S p
                                  Ati^)0=£A„-tA—<5LS-            as.
          rv>' V)nii.(~ 5'paA ' \ \
     bo-v<jxo^              tb/"^ yvv■e                             iMeJ.^
     s\\ oo (<4 jp-e. \zs\/'^/\                    ^rA^&b-Ws--

     ^n<aalA \rv                     r(^ir4~bfA g?-pgj''\7       /^aa.
Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 11 of 12 PageID# 11




            44\a4-i4\€- A^VA                                 .fUc>k
    A-^Oa^-s C5 bgj/ij ^TSToily i^'^noreJl.'Tkrs t-^ '=^
    U^'ytTOfv. zH/\/j| W l3<'      l(y?\ ^l^rP^€^eA<'-e-4zP A.
    ifv\eJicW( \)peJ^         \\<'s -V^o-g O^S'eA rvt£.

     <10^^ b^-                           suIq
     by W)e^tl P/ibrx fA(>A(ca^[ S^r^'ccs,

Vs Is4-          Bllioii sksiAJ^ ^trxss /w/z-yg/i^
     heJ}a.iy/hr'iJhen hpj/a^'htr rpfiPa-UJ f)h^O^
    rAl.c /a>o,y r/io<rec<&4ihm cho.^e^ 7i> /^n/^r-e.
    I^y pl-PaJ Pkrtxj^ }^ iOt^P^ cJjd/i'loL {hrChaA'

    rpj/eifi
    r p(/^ih 4r>
             nx) ny/
                 My jjg/n /}r\d
                          />r\a Sdfk^l'Aq,
                                a          Bspeg^aly
    /x4^r poM'i- hj/mlc nrc^^iej
     pp haJ
        na<i j c)£f- ^a>p--ey) annrt\<j- tJor^
                     acpfbey) /xnp)H)-€/^ I    \^rcf
     jTnAitfb^ lb bt>-g D-^Wib^ ^Ltuulcxr-Bsi^--^
     F^rsrh v^gtnae/iAf-
     ncfS'T <^Ar^eaA:t-tsp                   hf jj-efny^^
                                             Of SeSr''/]
    aoJ /^AA,^'p<^{\^a                     /oA tVipor-lroAi
    -gOc_k /XJ^ ji\fs,
Case 1:22-cv-00172-LMB-IDD Document 1 Filed 02/17/22 Page 12 of 12 PageID# 12




  V.    MLIEF

  I understand that in a Section 1983 action the Court cannot change my sentence, release me from
  custody or restore good time. I understand I should file a petition for a writ of habeas corpus ifI
  desire this type of relief. ^         ^    (please initial)
  The plaintiff wants the Court to:(check those remedies you seek)
   _L/^f^ward money damages in the amount of$
   \/^ Grant injunctive relief bv                     ($.e s WoC-4xJ           Aiczv.\
          Other

  VI.    PLACES OF DSCARCERATION

  Please list the institutions at which you were incarcerated during the last six months,    you were
  transferred during this period, list the date(s) oftransfer. Provide an address for each institution.




  Vn.     CONSENT

  CONSENT TO TEOAL BY A MAGISTEIATE JUDGE: The parties are advised oftheir right,
  pursuant to 28 U.S.C.§ 636(c),to have a U.S. Magistrate Judge preside over a trial, with appeal to
  the U.S. Court of Appeals for the Fourth Circuit.

  Do you consent to proceed before a U.S. Magistrate Judge: Yes[V] No[ ]. You may
  consent at any time; however, an early consent is encouraged.

  Vm. SIGNATURE

  Ifthere is more than one plaintiff, each plaintiff must sign for himself or herself.

  Signed this                  day of                             »20.^^^
  PlaiQtiff_
